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 1 PATRICK HAMMON (255047)
   McMANIS FAULKNER
 2 a Professional Corporation
   50 West San Fernando Street, 10th Floor
 3 San Jose, California 95113
   Telephone:     (408) 279-8700
 4 Facsimile:     (408) 279-3244
   Email:         phammon@mcmanislaw.com
 5
   Attorneys for Non-Party,
 6 ROBLOX INC.

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 8                            UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   EPIC GAMES, INC.                            Case No.: 4:20-cv-05640-YGR
13                Plaintiff, Counter-Defendant   DECLARATION OF HANS GUNAWAN
                                                 PURSUANT TO LOCAL RULE 79-5(e)(1)
14        vs.                                    IN SUPPORT OF ROBLOX INC.’S
                                                 ADMINISTRATIVE MOTION TO KEEP
15   APPLE INC.                                  COMPETITIVELY SENSITIVE
                                                 INFORMATION UNDER SEAL
16                Defendant, Counterclaimant
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                                                 Judge: Hon. Yvonne Gonzalez Rogers
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     DECL.OF GUNAWAN PURSUANT TO LOCAL RULE 79-5(E)(1) ISO ROBLOX INC.’S ADMIN. MOTION
     TO KEEP COMPETITIVELY SENSITIVE INFORMATION UNDER SEAL; Case No.: 4:20-cv-05640-YGR
     Case 4:20-cv-05640-YGR Document 525-1 Filed 04/29/21 Page 2 of 3



 1          I, Hans Gunawan, declare as follows:
 2          1.       I am the Vice President of Finance for Roblox Corporation (“Roblox”). I am over
 3   eighteen years of age. I make this declaration based on my personal knowledge and pursuant to
 4   Civil Local Rule 79-5 in support of Roblox’s motion to maintain the information described
 5   below under seal. If called as a witness, I could and would testify competently to all facts stated
 6 herein as follows:

 7          2.      Apple Inc.’s (“Apple”) Exhibit DX-3879 discloses Roblox’s highly sensitive,
 8 confidential, competitively valuable information, the public disclosure of which would likely

 9 have the effect of causing Roblox substantial competitive harm. Roblox restricts dissemination

10 of this information and takes steps to preserve its confidentiality to protect competitive

11 advantage with regard to key distribution platforms.

12          3.      DX-3879 is a spreadsheet which in the aggregate contains highly competitively
13 sensitive information regarding Roblox’s pricing, revenues, and user data. Tab 1.E of the

14   spreadsheet contains pricing information that is no longer publicly available. Tabs 1.F and 2.A of
15   DX-3879 contain data related to Roblox’s annual revenues for key distribution platforms from
16   2015 to 2020. Roblox does not share this revenue information with any third parties, except as
17   required by applicable law, unless such third parties are bound by a written confidentiality
18   agreement. The disclosure of the annual revenue data would provide an advantage to
19   competitors, who could use it to target distribution platforms that are key to Roblox’s business.
20          4.      Tab 2.F of DX-3879 tracks detailed information regarding Roblox’s users. Roblox
21   protects the confidentiality of this information and does not share it with any third party unless
22   such party is bound by a written confidentiality agreement. The disclosure of this user
23   information would provide an advantage to competitors, who could use it to target distribution
24   platforms that are key to Roblox’s business.
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      DECL.OF GUNAWAN PURSUANT TO LOCAL RULE 79-5(E)(1) ISO ROBLOX INC.’S ADMIN. MOTION
      TO KEEP COMPETITIVELY SENSITIVE INFORMATION UNDER SEAL; Case No.: 4:20-cv-05640-YGR
     Case 4:20-cv-05640-YGR Document 525-1 Filed 04/29/21 Page 3 of 3



 1            6.     The information reflected in DX-3879 has significant competitive value. Roblox
 2   does not normally disclose this information to the public, and, as described, the company makes
 3   substantive efforts to preserve its confidentiality. If the information were made public, Roblox
 4   would suffer competitive harm.
 5            I declare under penalty of perjury that the foregoing is true and correct.
 6
     Executed on this 29 day of April, 2021
 7

 8                                                                  /s/ Hans Gunawan______________
                                                                    Hans Gunawan
 9
                                               ATTESTATION
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              Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest under penalty of
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     perjury that the concurrence in the filing of this document has been obtained from the signatory
12
     above.
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14                                                      McMANIS FAULKNER
     DATED: April 29, 2021
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16                                                       /s/ Patrick Hammon
                                                         PATRICK HAMMON
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                                                         Attorneys for Non-Party,
18                                                       ROBLOX INC
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      DECL.OF GUNAWAN PURSUANT TO LOCAL RULE 79-5(E)(1) ISO ROBLOX INC.’S ADMIN. MOTION
      TO KEEP COMPETITIVELY SENSITIVE INFORMATION UNDER SEAL; Case No.: 4:20-cv-05640-YGR
